Case 22-60020 Document 86-2 Filed in TXSB on 05/06/22 Page 1 of 4




        EXHIBIT 2
22-01021-hcm
        Case 22-60020
             Doc#3 Filed
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                         05/02/2286-2
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                                           05/02/22
                                             in TXSB15:38:44
                                                     on 05/06/22
                                                             Main Page
                                                                  Document
                                                                       2 of 4 Pg 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

   IN RE :                                         § CASE NO. 22-60020 (SDTX)
   INFOW, LLC, et al.,                             §
                                                   § CHAPTER 11
      Debtors.                                     §
   _________________________________               § JOINTLY ADMINISTERED
                                                   §
   LEONARD POZNER AND                              §
   VERONIQUE DE LA ROSA,                           §
                                                   § ADV. PROC. NO. 22-01021-HCM
        Plaintiffs,                                §
                                                   §
   v.                                              §
                                                   §
   ALEX E. JONES, INFOWARS, LLC,                   §
   FREE SPEECH SYSTEMS, LLC

        Defendants.


    PLAINTIFFS LEONARD POZNER AND VERONIQUE DE LA ROSA’S NOTICE OF
           DISMISSAL OF CLAIMS AGAINST DEFENDANT INFOW, LLC


          Plaintiffs Leonard Pozner and Veronique De La Rosa file this Notice of Dismissal pursuant

  to Fed. R. Civ. P. 41(a)(1) and Fed. R. Bankr. P. 7041, notifying the Court of their voluntary

  dismissal of all claims against Infowars, LLC (aka InfoW, LLC). This dismissal is as to the

  Plaintiffs’ claims against this defendant only. The Plaintiffs maintain each and all of their claims

  against the other defendants in this action, Alex Emric Jones and Free Speech Systems, LLC. This

  dismissal is without prejudice and without costs.

  Dated: May 2, 2022
22-01021-hcm
        Case 22-60020
             Doc#3 Filed
                       Document
                         05/02/2286-2
                                  Entered
                                       Filed
                                           05/02/22
                                             in TXSB15:38:44
                                                     on 05/06/22
                                                             Main Page
                                                                  Document
                                                                       3 of 4 Pg 2 of 3




                                           Respectfully submitted,

  THE BEATTY LAW FIRM PC                   MCDOWELL HETHERINGTON LLP


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22-01021-hcm
        Case 22-60020
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                         05/02/2286-2
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                                           05/02/22
                                             in TXSB15:38:44
                                                     on 05/06/22
                                                             Main Page
                                                                  Document
                                                                       4 of 4 Pg 3 of 3




                                CERTIFICATE OF SERVICE
         I hereby certify that on May 2, 2022, a true and correct copy of the foregoing document
  was served by the Court’s CM/ECF system on all parties registered to receive such service.


                                             /s/ Avi Moshenberg
                                             Avi Moshenberg
